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                      IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

FRANCISCO GARCIA, Individually and §
on behalf of All Others Similarly Situated, §
      Plaintiff,                            §
                                            §
v.                                          §      Civil Action No. SA-15-CA-1162-XR
                                            §
DRILL-CHEM, LLC,                            §
      Defendant.                            §

                           JOINT NOTICE OF SETTLEMENT

       Plaintiffs and Defendant file this Joint Notice of Settlement and hereby advise the Court

that the parties have settled and resolved their dispute. Settlement documents will be prepared

and finalized and a Joint Motion to Dismiss with Prejudice will be filed within the next thirty

(30) days.

                                            Respectfully submitted,


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                                    By:      /s/ Josh Sanford______________
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                                            ATTORNEYS FOR PLAINTIFF
                                            FRANCISCO GARCIA, Individually and on
                                            behalf of All Others Similarly Situated




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                                             AND


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                                     By:      /s/ Keith B. Sieczkowski
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                                             ATTORNEYS FOR DEFENDANT
                                             DRILL-CHEM, LLC



                                CERTIFICATE OF SERVICE

        I hereby certify that on April 29, 2016, a true and correct copy of the foregoing document
was electronically filed with the clerk of Court by the CM/ECF filing system. Notice of this
filing will be sent to all counsel of record by operation of the Court’s electronic filing system.

Josh Sanford
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650 S. Shackleford Road, Suite 411
Little Rock, Arkansas 72211

                                                    /s/ Keith B. Sieczkowski___________
                                                    Keith B. Sieczkowski
                                                    Heather M. Lucas




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